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Mt@om UNITED sTATEs DIsTRICT COURT JUN 2 0 2013
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UNITED STATES OF AMERICA

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- )
DMITRY FIRTAsH, § Ca}'I\B CR 5 15
)

also known as “Drnytro Firtash,” and “DF,”

ANDRAS KNOPP, ) Violations: Title 18, United
SUREN GEVORGYAN, ) States Code, Sections 371,
GAJENDRA LAL, ) 1952, 1956, 1962 and 2

also known as “Gaj,” )
PERIYASAMY SUNDERALINGAM, ) Mc£lp

also known as “Sunder,” /€, %H
K.V.P. RAMACHANDRA RAo, AG/ST

also known as “KVP,” and “Dr. KVP” ) mTE JUDG

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THE SPECIAL JANUARY 2012 GRAND JURY charges:
1. At times material to this indictment:

a. Defendant DMITRY FIRTASH, also known as “Drnytro Firtash,”
and “DF,” exercised control over “Group DF,” an international conglomerate of
companies that were directly and indirectly owned by Group DF Limited, a company
organized under the laws of the British Virgin Islands. The companies within Group
DF included, but were not limited to, the companies listed in Schedule A to this
indictment, which is incorporated herein by reference Among them were the following

companies:

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i. Ostchem Holding AG was a company registered in, and with
headquarters in, Vienna, Austria. Ostchem Holding AG was in the business of mining
and processing minerals, including titanium.

ii. ' Global Energy Mining and Minerals Limited (“GE MM”) was
a company organized under the laws of Hungary. GE MM was the majority shareholder
of Bothli Trade AG.

iii. Bothli Trade AG was a company organized under the laws of
Switzerland.

b. The Central Government of the Republic of India was based in New
Delhi, India. Andhra Pradesh was a State within the Republic of India. The State
Government of Andhra Pradesh was based in Hyderabad, India.

c. ln or around April 2006, Bothli Trade AG entered into a
memorandum of understanding with the State Government of Andhra Pradesh. In the
memorandum of understanding, Bothli Trade AG and the State Government of Andhra
Pradesh agreed to set up a joint venture for the purpose of mining various minerals
within Andhra Pradesh, including ilmenite, a mineral which can be processed into
various titanium-based products such as titanium sponge (the “project”).

d. Company A was a Delaware corporation that maintained its

corporate headquarters and principal executive offices in Chicago, Illinois. Company

A Was a purchaser of titanium products.

 

e. In or around February 2007, Company A entered into a
memorandum of agreement with Ostchem Holding AG, by and through Bothli Trade
AG. The agreement specified that the parties would work towards entering into a
supply agreement whereby Bothli Trade AG would supply 5,000,000 to 12,000,000
pounds of titanium sponge to Company A on an annual basis. The titanium sponge to
be supplied to Company A was to be derived from the project.

f. Licenses were required for the project before mining could begin.
These licenses required the approval of both the State Government of Andhra Pradesh
and the Central Government prior to their issuance. The approval and issuance of such
licenses were discretionary, non-routine governmental actions.

g. rI"here were in force and effect criminal statutes of the Republic of
India prohibiting bribery of public officials, including the Prevention of Corruption Act,
1988. The Prevention of Corruption Act, 1988, included the following provisions, the
violation of each of which was punishable by a term of imprisonment of more than one
year:

i. Section 7 made it an offense for a public servant to accept,
obtain, agree to accept or attempt to obtain, for himself or for any other person, any
gratification (including but not limited to money) other than legal remuneration as a

motive or reward for: doing any official act; showing favor to any person in the exercise

of official functions; or rendering or attempting to render any service to any person,

 

 

 

with the Central Government, any State Government, any local authority, corporation

or Government company, or with any public servant.

ii. Section 8 made it an offense for any person to accept, obtain,
agree to accept or attempt to obtain, for himself or for any other person, any
gratification (including but not limited to money) as a motive or reward for inducing,
by corrupt or illegal means, any public servant to: do any official act; show favor to any
person in the exercise of official functions; or render or attempt to render any service
to any person, with the Central Government, any State Government, any local
authority, corporation or Government company, or with any public servant.

iii. Section 9 made it an offense for any person to accept, obtain,
agree to accept or attempt to obtain, for himself or for any other person, any
gratification (including but not limited to money) as a motive or reward for inducing,
by the exercise of personal influence, any public servant to: do any official act; show
favor to any person in the exercise of official functions; or render or attempt to render
any service to any person, with the Central Government, any State Government, any
local authority, corporation or Government company, or with any public servant.

iv. Section 10 made it an offense for a public servant to abet a
violation of Section 8 or Section 9.

h. Y.S. Raj asekhara Reddy, now deceased, was a member of the State

Legislature of Andhra Pradesh and was the Chief Minister of the State of Andhra

Pradesh.

 

i. Defendant K.V.P. RAMACHANDRA RAO, also known as “KVP,”
and “Dr. KVP,” was an official of the State Government of Andhra Pradesh and was a
close advisor to Chief Minister Y.S. Raj asekhara Reddy.

j. Defendant GAJENDRA LAL, also known as “Gaj,” was a
permanent resident of the United States and resided in Winston-Salem, North
Carolina.

I. '_LPLE_E;\I_T_M__M&E

2. There existed a criminal organization, that is, a group of individuals
consisting of defendants DMITRY FIRTASH, also known as “Dmytro Firtash,” and
“DF,” ANDRAS KNOPP, SUREN GEVORGYAN, GAJENDRA LAL, also known as
“Gaj,” PERIYASAMY SUNDERALINGAM, also known as “Sunder,” K.V.P.
RAMACHANDRA RAO, also known as “KVP,” and “Dr. KVP,” and others known and
unknown.

3. This criminal organization, including its leadership, membership and
associates, constituted an “enterprise” as that term is used in Title 18, United States
Code, Section 1961(4) (hereinafter, the “enterprise”), that is, a group of individuals
associated in fact, which enterprise was engaged in, and the activities of which affected,
interstate commerce.

4. The members of the enterprise constituted an ongoing organization whose

members functioned as a continuing unit for the common purpose of achieving the

 

 

 

 

objectives of the enterprise The purposes of the enterprise included but were not
limited to providing income for certain of its members through illegal activities

5. The illegal activities of the enterprise included, but were not limited to:
(a) utilizing United States financial institutions to engage in the international
transmission of millions of dollars for the purpose of bribing Indian public officials in
connection with obtaining approval of the necessary licenses for the project, which
project was forecast to generate more than $500 million in revenues per year, including
revenues generated from the sale of titanium products to Company A; (b) using
facilities of interstate and foreign commerce to coordinate plan, facilitate and promote
the bribery of Indian public officials; (c) using Group DF, including its business
reputation and financial resources, in order to advance, participate in and finance the
project, as well as to fund, transfer and conceal bribe payments made in connection with
the project; (d) using threats and intimidation to advance the interests of the
enterprise’s illegal activities; and (e) traveling in interstate and foreign commerce to
further the goals of the criminal enterprise

6. In order to carry out its activities, the enterprise utilized individuals
employed by and associated with it who had varying roles and responsibilities. The
roles and responsibilities were as follows:

DEFENDANT DMITRY FIRTASH
7. Defendant DMITRY FIRTASH, also known as “Dmytro Firtash,” and

“DF,” was the leader of the enterprise In that capacity, he oversaw, directed and

guided certain of the enterprise’s illegal activities. Among other things, FIRTASH
caused the direct and indirect participation of certain Group DF companies in the
project. FIRTASH met with Indian government officials, including Chief Minister Y.S.
Rajasekhara Reddy, for the purpose of discussing the project and its progress
FIRTASH authorized payment of at least $18.5 million in bribes to officials of both the
State Government of Andhra Pradesh and the Central Government of India to secure
the approval of licenses for the project, FIRTASH further directed his subordinates
to create documentation to make it falsely appear that money transferred for the
purpose of paying these bribes was transferred for legitimate commercial purposes.
FIRTASH appointed Various of his subordinates, including but not limited to ANDRAS
KNOPP, to oversee efforts to obtain the licenses through bribery.
DEFENDANT ANDRAS KNOPP

8. Defendant ANDRAS KNOPP occupied a supervisory role in the
enterprise KNOPP, along with FIRTASH, met with Indian government officials
concerning the proj ect. KNOPP also met with representatives of Company A for the
purpose of discussing the supply of titanium products to Company A that would be
derived from the project, KNOPP supervised and directed the activities of others
employed by and associated with the enterprise including but not limited to defendant
GAJENDRA LAL. KNOPP, along with FIRTASH, was consulted in connection with
maj or decision-making relating to the project, including significant action taken with

respect to the payment of bribes to Indian public officials.

 

DEFENDANT SUREN GEVORGYAN

9. Defendant SUREN GEVORGYAN served the enterprise by, among other
things: (i) traveling to Seattle, Washington, and meeting with personnel from Company
A concerning the potential supply of titanium products to Company A; (ii) signing
documentation to make it falsely appear that money transferred for the purpose of
paying bribes was transferred for legitimate commercial purposes; (iii) monitoring the
total amount of bribe payments made; and (iv) coordinating transfers of money to be
used to bribe Indian public officials

DEFENDANT GAJENDRA LAL

10. Defendant GAJENDRA LAL, also known as “Gaj ,” served the enterprise
by, among other things: (i) providing status reports to FIRTASH and KNOPP
concerning efforts to obtain licenses for the proj ect; (ii) monitoring the total amount of
bribe payments made; (iii) seeking FIRTASH’s and KNOPP’s authorization to pay
additional bribes; (iv) recommending what course of action to take on the project,
including whether and in what manner to pay certain bribes to Indian public officials;
(v) causing the preparation of documentation to make it falsely appear that money
transferred for the purpose of paying bribes was transferred for legitimate commercial
purposes; and (vi) coordinating transfers of money to be used to bribe Indian public

officials.

 

DEFENDANT PERIYASAMY SUNDERALINGAM

11. Defendant PERIYASAMY SUNDERALINGAM, also known as
“Sunder,” served the enterprise by, among other things: (i) meeting with defendant
K.V.P. RAMACHANDRA RAO for the purpose of determining the total amount of
bribes to be paid to Indian public officials in return for approval of the licenses required
for the project, and advising other enterprise members of the results of the meeting;
(ii) identifying various foreign bank accounts held in the names of nominees outside of
India that could be used to funnel bribe payments to RAO; and (iii) monitoring the total
amount of bribe payments made

DEFENDANT K.V.P. RAMACHANDRA RAO

12. Defendant K.V.P. RAMACHANDRA RAO, also known as “KVP,” and
“Dr. KVP,” served the enterprise by, among other things: (i) abusing his position as an
official of the State of Andhra Pradesh and close advisor to Chief Minister Y.S.
Rajasekhara Reddy to solicit bribes for Indian public officials, including himself, in
return for approval of licenses for the project; (ii) agreeing to accept bribe money,
including bribe money for his own benefit, in return for the approval of licenses for the
project; and (iii) warning fellow enterprise members concerning the threat of a possible

law enforcement investigation of the proj ect.

 

II. THE RACKETEERING CONSPIRACY

13. Beginning no later than in or around 2006, and continuing through the date
of the return of this indictment, in the Northern District of Illinois, Eastern Division,
and elsewhere

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,”
PERIYASAMY SUNDERALINGAM, also known as “Sunder,” and

K.V.P. RAMACHANDRA RAO, also known as “KVP,” and “Dr. KVP,
defendants herein, being persons employed by and associated with an enterprise that
is, the enterprise as described in paragraphs 2-5 above which enterprise engaged in,
and the activities of which affected, interstate and foreign commerce did knowingly
conspire together and with other persons known and unknown to the Grand Jury, to
conduct and participate directly and indirectly, in the conduct of the affairs of the
enterprise through a pattern of racketeering activity as those terms are defined in Title
18, United States Code, Sections 1961(1) and (5), in violation of Title 18, United States
Code, Section 1962(€), as further specified in paragraphs 14 and 15 below.

14. The pattern of racketeering activity consisted of multiple acts indictable
under:

a. Title 18, United States Code, Section 1952 (travel in interstate and

foreign commerce and use of facilities in interstate and foreign commerce in aid of

racketeering activity); and

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b. Title 18, United States Code, Section 1956 (laundering of monetary

instruments). l
15. As part of the conspiracy, each defendant agreed that a conspirator would
commit at least two acts of racketeering in the conduct of the affairs of the enterprise

III. MANNER AND MEANS OF THE CONSPIRACY

16. Among the manner and means of the conspiracy agreed to by the
defendants were the following:

a. It was part of the conspiracy that FIRTASH caused Group DF
companies to, among other things: (a) participate in the proj ect; (b) finance the project;
(c) enter into written agreements for the purpose of concealing the illegal nature of
bribe payments made in connection with the project; and (d) fund and transmit bribe
payments made in connection with the proj ect.

b. lt was further part of the conspiracy that one or more of the
conspirators caused the transfer funds to a place in the United States from or through
a place outside the United States, and from a place in the United States to or through
a place outside the United States, with the intent to promote the carrying on of
specified unlawful activity, namely, with respect to a financial transaction occurring in
part in the United States, an offense against a foreign nation, India, involving bribery
of a public official. These funds transfers included but were not limited to the following:

i. The transfer of approximately $200,000 from Greensboro

Corporation to M/S Yash Fashion LLC on or about Apri128, 2006,

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ii. The transfer of approximately $300,000 from Lovat Limited

to M/S Yash Fashion LLC on or about May 10, 2006.

iii. The transfer of approximately $500,000 from Lovat Limited
to Eikon International Holding FZ LLC on or about June 14, 2006,

iv. The transfer of approximately $2,000,000 from Lovat Limited
to Gobest International Limited on or about November 27, 2006.

v. The transfer of funds from Bothli Trade AG to Romtex Co.

Limited on or about the following dates and in the following approximate amounts:

 

 

 

 

 

 

 

 

Date Amount
March 26, 2007 $150,000
May 23, 2007 $200,000
June 6, 2007 $100,000
April 1, 2008 $475,000

 

vi. The transfer of funds from Romtex Co. Limited to M/S Yash

Fashion LLC on or about the following dates and in the following approximate

 

 

 

 

 

 

 

 

amounts:
Date Amount
June 29, 2006 $68,7 50
July 17, 2006 $308,500
July 19, 2006 $250,000
August 4, 2006 $200,000
September 18, 2006 $250,000

 

 

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Date Amount
September 29, 2006 $200,000
November 8, 2006 $200,000
November 16, 2006 $100,000
December 18, 2006 $70,000

Apri13, 2007 $60,000
May 29, 2007 $150,000
June 7 , 2007 $60,000
June 12, 2007 $40,000
August 24, 2007 $80,000
September 13, 2007 $20,000
April 16, 2008 $75,000
June 27 , 2008 $200,000
June 30, 2008 $100,000
July 3, 2008 $100,000

 

vii. The transfer of funds from Romtex Co. Limited to M/S

Fashion Shop LLC on or about the following dates and in the following approximate

 

 

 

 

amounts:
Date Amount
March 26, 2007 $100,000
July 2, 2008 $100,000
July 7 , 2008 $100,000

 

 

 

 

 

 

viii. The transfer of funds from Romtex Co. Limited to Rewa

International Limited on or about the following dates and in the following approximate

 

 

 

 

 

 

 

 

 

 

 

amounts:
Date Amount
December 14, 2006 $250,000
December 18, 2006 $250,000
January 10, 2007 $300,000
January 12, 2007 $200,000
August 10, 2007 $250,000
August 16, 2007 $250,000
June 27 , 2008 $250,000
July 2, 2008 $250,000

 

 

ix. The transfer of funds from Romtex Co. Limited to Penta

Traders on or about the following dates and in the following approximate amounts:

 

 

 

 

 

 

Date Amount
August 9, 2007 $125,000
August 16, 2007 $125,000

 

x. The transfer of approximately $125,000 from Romtex Co.
Limited to K.H. Traders on or about August 9, 2007.
xi. The transfer of approximately $200,000 from Company B to

Rewa International Limited on or about June 2, 2008.

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xii. The transfer of approximately $50,000 from Gobest
International Limited to Individual A on or about November 14, 2007 .

xiii. The transfer of approximately $40,000 from NaVasa Ventures
Limited to Individual B on or about August 11, 2009.

xiv. The transfer of funds from Bothli Trade AG to Individual B

on or about the following dates and in the following approximate amounts:

 

 

 

 

 

 

 

Date Amount
August 18, 2008 $50,000
October 14, 2008 $25,000
August 18, 2009 $45,000

 

xv. The transfer of approximately $250,000 from Navasa
Ventures Limited to Zahrat Al Khaleej on or about September 15, 2009.

xvi. The transfer of funds from Navasa Ventures Limited to
Triumphal Investments on or about the following dates and in the following

approximate amounts:

 

 

 

 

 

 

Date Amount
February 12, 2010 $500,000
June 7 , 2010 $200,000

 

xvii. The transfer of funds from Bothli Trade AG to Company C

on or about the following dates and in the following approximate amounts:

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Date Amount

July 28, 2009 $28,500
August 18, 2009 $15,000
October 19, 2009 $43,500
December 18, 2009 $2,100
May 25, 2010 $13,500
July 13, 2010 $2,200

7c. lt was further part of the conspiracy that one or more of the

conspirators used and caused the use of foreign bank accounts held in the names of
nominees located outside of India in order to receive funds intended for distribution to
Indian public officials as bribes in return for approval of licenses needed for the project,

d. lt was further part of the conspiracy that one or more of the
conspirators prepared documentation to make it falsely appear that money transferred
for the purpose of paying bribes was transferred for legitimate commercial purposes

e. lt was further part of the conspiracy that, in order to obtain
approval of licenses for the project, one or more of the conspirators caused Individual
C to be involved in the project, and did steer a contract and payments to a company
controlled by Individual C, because of Individual C’s status as a relative of Chief
Minister Y.S. Rajasekhara Reddy.

f. lt was further part of the conspiracy that one or more of the
conspirators traveled and caused others to travel in interstate and foreign commerce

with intent to promote manage establish, carry on, and facilitate the promotion,

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management, establishment, and carrying on of money laundering; and thereafter, did
perform, cause to be performed and did aid and abet the performance of acts to
promote manage establish, and carry on and facilitate the promotion, management,
establishment, and carrying on of said unlawful activity including but not limited to the
following:

i. On or about August 21, 2006, GEVORGYAN traveled from
New York to Seattle, Washington, and thereafter met with representatives of
Company A and discussed the progress of the project.

ii. On or about February 14, 2007 , GEVORGYAN traveled from
Cincinnati, Ohio to Seattle Washington, and thereafter met with representatives of
Company A and discussed, among other things, the progress of the project and the
terms on which titanium products would be supplied to Company A.

iii. On or about June 28, 2009, LAL traveled from Greensboro,
North Carolina to Hyderabad, India, for the purpose of attending a meeting with
FIRTASH, KNOPP and others concerning the progress of the project,

iv. On or about July 5, 2009, LAL traveled from Chicago, lllinois
to Greensboro, North Carolina, and thereafter (i) informed KNOPP about Individual
C’s planned meeting with an Indian public official concerning the project and Individual
C’s request for additional money for bribe payments; and (ii) instructed a subordinate
to pay certain outstanding fees due to professionals who were assisting with the

project.

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v. On or about July 14, 2009, LAL traveled from Greensboro,
North Carolina to Flushing, New York, and thereafter attended a meeting with
representatives of Company D for the purpose of soliciting the participation of
Company D in the project.

vi. On or about August 3, 2009, LAL traveled from Greensboro,
North Carolina to New Delhi, India, and thereafter met with Individual C and
discussed with Individual C the transfer of additional funds intended for use to bribe
Indian public officials

vii. On or about August 16, 2009, LAL traveled from Chicago,
lllinois to Greensboro, North Carolina, and thereafter instructed a subordinate to (i)
transfer funds, which were intended for use to bribe Indian public officials, to a nominee
of Individual C; and (ii) pay certain outstanding fees due to professionals who were
assisting with the project and to pay other outstanding project expenses

g. lt was further part of the conspiracy that one or more of the

conspirators used and caused the use of the internet, and used and caused the use of e-
mail accounts hosted on computer servers located within the United States with intent
to promote manage establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of money laundering; and thereafter, did perform, cause
to be performed and did aid and abet the performance of acts to promote manage
establish, and carry on and facilitate the promotion, management, establishment, and

carrying on of said unlawful activity, including but not limited to sending and receiving

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e-mails to discuss the status of the conspirators’ activities and to discuss and direct
future activity.

h. lt was further part of the conspiracy that one or more of the
conspirators used and caused the use of cellular telephones including but not limited
to a cellular telephone located in Chicago, lllinois, and operated on the interstate
network of AT&T, with intent to promote manage establish, carry on, and facilitate
the promotion, management, establishment, and carrying on of money laundering; and
thereafter, did perform, cause to be performed and did aid and abet the performance
of acts to promote manage establish, and carry on and facilitate the promotion,
management, establishment, and carrying on of said unlawful activity, including but not
limited to communicating the status of the conspirators’ activities and discussing and
directing future activity.

i. lt was further part of the conspiracy that one or more of the
conspirators used intimidation and threats to compel adherence to instructions
provided by the enterprise’s leadership and to prevent disclosure of the conspiracy to
law enforcement

j. lt was further part of the conspiracy that the conspirators
misrepresented, concealed and hid, caused to be misrepresented, concealed and hidden,
and attempted to misrepresent, conceal and hide the illegal operation of the enterprise
and acts done in furtherance of the enterprise

All of the above in violation of Title 18, United State Code, Section 1962(d).

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COUNT TWO

The SPEClAL JANUARY 2012 GRAND JURY further charges:

1. Paragraph One of Count.One of this indictment is hereby realleged and
incorporated as if fully set forth herein.

2. Beginning no later than in or around 2006 and continuing through the date
of the return of this indictment, in the Northern District of lllinois, Eastern Division,
and elsewhere

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,”
PERIYASAMY SUNDERALINGAM, also known as “Sunder,” and

K.V.P. RAMACHANDRA RAO, also known as “KVP” and “Dr. KVP,”
defendants herein, conspired with each other and with others known and unknown to
4 the Grand Jury, to transport, transmit, and transfer a monetary instrument and funds
to New York, a place in the United States, from a place outside the United States, and
from New York and California, a place in the United States, to and through a place
outside the United States, with the intent to promote the carrying on of specified

unlawful activity, namely, with respect to a financial transaction occurring in part in the

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United States, an offense against a foreign nation, India, involving bribery of a public
official (lndia’s Prevention of Corruption Act, 1988), in violation of Title 18, United
States Code, Section 1956(a)(2)(A).

All in violation of Title 18, United State Code, Sections 1956(h) and 2.

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COUNT THREE
The SPECIAL JANUARY 2012 GRAND JURY further charges:
On or about July 5, 2009, in the Northern District of lllinois, Eastern Division,
and elsewhere
DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,”
PERIYASAMY SUNDERALINGAM, also known as “Sunder,” and
K.V.P. RAMACHANDRA RAO, also known as “KVP” and “Dr. KVP,”
defendants herein, traveled and caused another person to travel in interstate commerce
from Chicago, lllinois to Greensboro, North Carolina, with intent to promote manage
establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of an unlawful activity, namely, violation of Title 18, United States Code,
Section 1956(a)(2)(A) (laundering of monetary instruments); and thereafter, the
defendants did perform, cause to be performed and did aid and abet the performance
of acts to promote manage establish, and carry on and facilitate the promotion,

management, establishment, and carrying on of said unlawful activity;

ln violation of Title 18, United States Code, Sections 1952 and 2.

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COUNT FOUR

The SPEClAL JANUARY 2012 GRAND JURY further charges:

On or about August 16, 2009, in the Northern District of Illinois, Eastern
Division, and elsewhere

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,”
PERIYASAMY SUNDERALINGAM, also known as “Sunder,” and

K.V.P. RAMACHANDRA RAO, also known as “KVP” and “Dr. KVP,”
defendants herein, traveled and caused another person to travel in interstate commerce
from Chicago, lllinois to Greensboro, North Carolina, with intent to promote manage
establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of an'unlawful activity, namely, violation of Title 18, United States Code,
Section 1956(a)(2)(A) (laundering of monetary instruments); and thereafter, the
defendants did perform, cause to be performed and did aid and abet the performance
of acts to promote manage establish, and carry on and facilitate the promotion,

management, establishment, and carrying on of said unlawful activity;

ln violation of Title 18, United States Code, Sections 1952 and 2.

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The SPECIAL JANUARY 2012 GRAND JURY further charges:
1. Paragraph One of Count One of this indictment is hereby realleged and
incorporated as if fully set forth herein,
2. At times material to Count Five of this indictment:

a. GAJE NDRA LAL was a “domestic concern” as that term`was used
in the Foreign Corrupt Practices Act, Title 15, United States Code, Section 78dd-
2(h)(1).

b. DMITRY FIRTASH, ANDRAS KNOPP, SUREN GEVORGYAN,
PERIYASAMY SUNDERALINGAM, Group DF Limited, Ostchem Holding AG,
GE MM and Bothli Trade AG were each a “person” as that term was used in the Foreign
Corrupt Practices Act, Title 15, United States Code, Section 78dd-3(f)(1).

c. K.V.P. RAMACHANDRA RAG and Chief Minister Y.S.
Raj asekhara Reddy were each a “foreign official” as that term was used in the Foreign
Corrupt Practices Act, Title 15, United States Code, Sections 78dd~2(h)(2) and 78dd-

3(0(2).

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3. Be ginning no later than in or around 2006 and continuing through the date
of the return of this indictment, in the Northern District of lllinois, Eastern Division,
and elsewhere

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,” and
PERIYASAMY SUNDERALINGAM, also known as “Sunder,”
defendants herein, did willfully conspire with each other and others known and
unknown to the Grand Jury, to commit offenses against the United States, that is,

a. willfully to make use of means and instrumentalities of interstate
commerce corruptly in furtherance of an offer, payment, promise to pay, and
authorization of the payment of any money, offer, gift, promise to give and
authorization of the giving of anything of value to any person, while knowing that all
or a portion of such money and thing of value will be offered, given, and promised,
directly and indirectly, to any foreign official and to any foreign political party and
official thereof, for purposes of: (i) influencing acts and decisions of such foreign official
and foreign political party and official thereof in their official capacities; (ii) inducing
such foreign official and foreign political party and official thereof to do and omit to do
an act in violation of their lawful duty; (iii) securing an improper advantage and (iv)
inducing such foreign official and foreign political party and official thereof to use their

influence with a foreign government and instrumentalities thereof, including the

Central Government of India and the State Government of Andhra Pradesh, to affect

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and influence acts and decisions of such government and instrumentalities in order to
assist themselves their associated companies and their conspirators in obtaining and
retaining business in connection with the proj ect; in violation of Title 15, United States
Code, Section 78dd-2(a); and

b. while in the territory of the United States, willfully and corruptly
to make use of means and instrumentalities of interstate commerce and to do any other
acts in furtherance of an offer, payment, promise to pay, and authorization of the
payment of any money, offer, gift, promise to give and authorization of the giving of
anything of value to any person, while knowing that all or a portion of such money and
thing of value will be offered, given, and promised, directly and indirectly, to any
foreign official and to any foreign political party and official thereof, for purposes of: (i)
influencing acts and decisions of such foreign official and foreign political party and
official thereof in their official capacities; (ii) inducing such foreign official and foreign
political party and official thereof to do and omit to do an act in violation of their lawful
duty; (iii) securing an improper advantage and (iv) inducing such foreign official and
foreign political party and official thereof to use their influence with a foreign
government and instrumentalities thereof, including the Central Government of India
and the State Government of Andhra Pradesh, to affect and influence acts and decisions
of such government and instrumentalities in order to assist themselves their

associated companies and their conspirators in obtaining and retaining business in

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connection with the project; in violation of Title 15, United States Code, Section 78dd-
3(a).
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4. lt was further part of the conspiracy that the defendants committed one
or more of the following acts among others in furtherance of and to effect the objects
of the conspiracy:

a. Paragraphs 16(b)(i)-(xvii) and 16(f)(i)-(vii) of Count One of this

indictment are hereby realleged and incorporated as if fully set forth herein.

All in violation of Title 18, United States Code, Sections 371 and 2.

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FORFEITURE ALLEGATION ONE

The SPECIAL JANUARY 2012 GRAND JURY alleges:

1. The allegations contained in Count One of the indictment are realleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Section 1963.

2. As a result of the violation of Title 18, United States Code, Section 1962(d),
as alleged in the foregoing indictment,

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
defendant herein, has property and contractual rights affording him a source of
influence over the enterprise named and described herein, which the defendant has
established, operated, controlled, conducted and participated in the conduct of, in
violation of Title 18, United States Code, Section 1962, thereby making all such
property and contractual rights wherever located, and in whatever names held, subject
to forfeiture to the United States, pursuant to Title 18, United States Code, Section
1963(a)(2).

3. The interests of the defendant subject to forfeiture to the United States

pursuant to Title 18, United States Code, Section 1963(a)(2) include but are not limited

to:

 

 

Any and all direct and indirect interests of the defendant in Group
DF Limited and the assets of Group DF Limited (including but not
limited to the direct and indirect subsidiaries of Group DF Limited,
including but not limited to those companies listed in Schedule A to
this indictment as well as the assets of these companies listed in
Schedule B to this indictment which are incorporated by reference),
which afforded the defendant a source of influence over the
enterprise and

Any and all direct and indirect interests of the defendant or rights
against any entity through which defendant exercises ultimate
beneficial ownership of Group DF Limited.

4. To the extent that the property described above as being subject to

forfeiture pursuant to Title 18, United States Code, Section 1963, as a result of any act

or omission by the defendant:

a.

b.

cannot be located upon the exercise of due diligence

have been transferred or sold to, or deposited with, a third party;
have been placed beyond the jurisdiction of the Court;

have been substantially diminished in value or

have been commingled with other property which cannot be
subdivided without difficulty;

it is the intent of the United States of America, pursuant to Title 18, United States

Code, Section 1963(m) to seek forfeiture of any other property of the defendant up to

the value of the property described above as being subject to forfeiture

All pursuant to Title 18, United States Code, Section 1963.

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FORFEITURE ALLEGATION TWO

The SPECIAL JANUARY 2012 GRAND JURY further alleges:

1. The allegations contained in Count Two of the indictment are realleged
and incorporated by reference for the purpose of alleging forfeiture pursuant to Title
18, United States Code, Section 982(a)(1),

2. As a result of their violation of Title 18, United States Code, Section
1956(h) as alleged in the foregoing indictment,

DMITRY FIRTASH, also known as “Dmytro Firtash,” and “DF,”
ANDRAS KNOPP,
SUREN GEVORGYAN,
GAJENDRA LAL, also known as “Gaj,”
PERIYASAMY SUNDERALINGAM, also known as “Sunder,” and

K.V.P. RAMACHANDRA RAO, also known as “KVP” and “Dr. KVP,”
defendants herein, have subjected,to forfeiture to the United States, pursuant to Title
18, United States Code, Section 982(a)(1), any and all right, title and interest they may

have in any and all property, real and personal, involved in violation of Title 18, United

States Code, Section 1956, and any property traceable to such property,

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3. The interests of the defendants jointly and severally subject to-forfeiture

pursuant to Title 18, United States Code, Section 982(a)(1) include but are not limited

to:

at least $10,597,050;

Any and all direct and indirect interests of each defendant
(including but not limited to each defendant’s ownership,
shareholder and voting rights) in any of the companies involved in
the violation set forth in Count Two, including but not limited to
the companies listed in Schedule C to this indictment, which is
incorporated by reference (together with the successors and
assigns of each such company); and

Any and all direct and indirect interests of each defendant in the
assets of any company involved in the violation set forth in Count
Two, including but not limited to those assets listed in Schedule D
to this indictment, which is incorporated by reference

4. To the extent that the property described above as being subject to

forfeiture pursuant to Title 18, United States Code, Section 982(a)(1), as a result of any

act or omission by any defendant:

a.

b.

cannot be located upon the exercise of due diligence

has been transferred to, sold to, or deposited with a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value or

has been commingled with other property which cannot be

subdivided without difficulty;

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it is the intent of the United States of America to seek forfeiture of substitute property
under the provisions of rl‘itle 21, United States Code, Section 853(p), as incorporated by
Title 18, United States Code, Section 982(b)(1).

All pursuant to Title 18, United States Code, Section 982.

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FOREPERSON

 

UNlTED STATES ATTORNEY

 

CHlEF, FRAUD SECTION
U.S. DEPARTMENT OF JUSTICE

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SCHEDULE A

The following companies organized/registered under the laws of Austria:

1. Aircraft Operation GmbH;

2. Centragas Holding AG;

3. DEG Handels;

4. Gentech Holding;

5. Group DF Holding AG;

6. Group DF International GmbH;

7. Group DF Media Holding AG;

8. Group DF Real Estate AG;

9. Ostchem Holding AG;

10. Ostchem International GmbH;

11. RAAM Beteil GmbH;

12. Sophia Plaza GmbH;

13. Ukr'invest; and

14. Zangas Hoch-und Tiefbau GmbH.
The following companies organized/registered under the laws of the
British Virgin Islands:

1. Beamminghart Limited;

2. Brivado Trading Limited;

3. Carricktown Limited;

4. Cattleborne Limited;

5. Crystal Planet;

6. DF lnvestments;

7 . Foyston Limited;

8. GDFl Advisory Services Limited;
9. Gopa Establishment Limited;

10. Group DF Chemicals Limited;

11. Group DF International Real Estate;
12. Group DF Limited;

13. Group DF Titanium Limited;

14. lconostar Limited;

15. Tamarin lnvestments Management Limited;
16. Warm Lakes Limited; '
17. Weyford Limited; and

18. Zillan Management Holdings lnc.

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C. The following companies organized/registered under the laws of Cyprus:

Alvan Trading Limited;

Amat Holdings Limited;

Anzola Ventures Limited;

Asken Aviation Limited;

Bakar Technologies Limited;

Balmat Holdings Limited;

Benam Holdings Limited;

Bika Establishment Limited;

Botanis Ventures Limited;

10. Bothli Trade Limited;

_ 11. Bovalon lnvestments Limited;
12, Briforma Holdings Limited;
13. Bromso Limited;

14. Carek Ventures Limited;

15. Centragas lnvestments;

16. Centragas Ventures;

17. Clere Holdings Limited;

18, Convalso Holdings Limited;

19. Darisima lnvestments Limited;
20. Dayala Trading Limited;

21. Deltalink;

22. Denby Holdings Limited;

23. Denby lnvestments (Cyprus) Limited;
24. Denby Ventures Limited;

25, Endrola lnvestments Limited;
26. Enther Holdings;

27. Fleori Enterprises Limited;

28, Gabbaro Holdings Limited;

29, Gamarto Ventures;

30. GEMM Economic Zones Limited;
31. Group DF lnternational;

32. Hanma Trading Limited;

33. Kalamazoo Limited;

34. Kaleve Ventures Limited;

35. Kaori Ventures Limited;

36. Kettley Ventures Limited;

37. Kevaras Trading Limited;

38. Klamaoria Trading Limited;

39. Krezer Holdings Limited;

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Ladis Holdings Limited;
Lamberth Holdings Limited;
Lasar'i Holding Limited;
Lazare Property Ventures Limited;
Letan lnvestments Limited;
Lusina;

Mabofi Holdings Limited;
Matheron Limited;

Miro Trading Limited;
Modomiko Trading Limited;
Morottix Trading Limited;
Navasa Ventures Limited;
Nazado Enterprises Limited;
Nedramo Ventures Limited;
Nesiba Ventures Limited;
Nosilka;

Novartik Trading Limited;
Ostark Ventures Limited;
Ostchem Enterprises Limited;
Ostchem Holding Limited;
Ostchem lnternational;
Ostchem lnvestments Limited;
Ostchem Services Limited;
Ostchem Ventures Limited;
Palmino Trading Limited;
Pasler Enterprise Limited;
Perison Limited;

Pitalovo Limited;

PLG UA Limited;

Porala Ventures Limited;
Powgen Tech Energy Company Limited;
Prelux Holdings Limited;
Proktora Holdings Limited;
Rezende Holdings Limited;
Salkrasti Holdings Limited;
Sangar lnvestments Limited;
Sanilia Ventures Limited;
Shrop Trading Limited;

Sison Establishment Limited;
Smoltero Holdings;

Smoreno Ventures Limited;
Spretona Limited;

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82. Staher lnvestments Limited;

83. Telen Ventures Limited;

84. Titanium lnternational;

85. Tolexis International Limited;

86. Tolexis Trading Limited;

87. Ukrinvest Aviation Limited;

88. Zangas Holdings (Cyprus) Limited; and
89. Zigrafo lnvestments Limited.

The following companies organized/registered under the laws of Germany:

1. Afkem AG (also known as ACl/Affchem AG); and
2. Ostchem Germany GmbH.

The following companies organized/registered under the laws of Hungary:

1. Elso Magyar Foldgaz es Energiakereskedelmi es Szolgaltato
Eromu (Emfesz Eromu);

Elso Magyar Foldgaz es Energiakereskedelmi es Szolgaltato Kft
(Emfesz Kf`t);

Euronit KFT;

Global Energy Mining and Minerals Kft;

Global Energy Mining and Minerals Limited;

JSC Peramatoni; and

Usztato Kft.

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The following company organized/registered under the laws of the
Netherlands:

1. BH Gas.

The following companies organized/registered under the laws of
Seychelles:

Alberta Holdings Limited;
Bantry Holdings Limited;
DF Finance Limited;

Elvan Services Limited;
Gemgold Ent Limited;
Glenric Ventures Limited;
Goldmet Ventures Limited;
Gouda Management Limited;

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9. Haycraft Holdings Limited;

10. Hedwig Trading;

11. J han International Limited;

12, Karma Holdings Limited;

13. Liveti Limited;

14. Lovat Limited;

15. Nicoya Holdings Limited;

16, Romford lnvestment Holdings Limited;

17 . Rossel lnvestments Limited; and

18. Samimona Limited.

The following companies organized/registered under the laws of
Switzerland:

1. Bothli Trade AG;

2. NF Trading AG;

3. Ostchem Trading GmbH; and

4. Rosukrenergo (RUE).

The following companies organized/registered under the laws of the
United Kingdom:

1. Denby lnvestments PLC;

2.. Endrola lnvestments Limited PLC;

3. Seafiled Limited; and

4. Temion Gas & Oil Limited,

The following companies organized/registered under the laws of an
unknown jurisdiction:

1. Cimarron Commercial Services; and

2.

Greensboro Corporation.

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SCHEDULE B

All funds in the following bank accounts located in Austria:

1.

All bank accounts in the name of Ostchem Trading GmbH,
including account number ******4301 at Raiffeisen Zentralbank
Oesterreich.

All funds in the following bank accounts located in Cyprus;

1.

10.

All bank accounts in the name of Bothli Trade AG, including
account number ******0806 and ******4048 at the Bank of Cyprus;

All bank accounts in the name of Bothli Trade Limited, including
account number ******1206 at the Bank of Cyprus;

All bank accounts in the name of Bromso Limited, including
account number ******6206 at the Bank of Cyprus;

All bank accounts in the name of Deltalink Limited, including
account number ******9906 at the Bank of Cyprus;

All bank accounts in the name of DF Finance Limited, including
account number ******5806 at the Bank of Cyprus;

All bank accounts in the name of Elvan Services Limited, including
account number ******8806 at the Bank of Cyprus;

All bank accounts in the name of Foyston Limited, including
account number ******9806 at the Bank of Cyprus;

All bank accounts in the name of Global Energ'y Mining and
Minerals Limited, including account number ******4206 at the
Bank of Cyprus;

All bank accounts in the name of Greensboro Corporation, including
account number ******7 506 at the Bank of Cyprus;

All bank accounts in the name of Group DF Limited, including
account number ******0506 at the Bank of Cyprus;

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11.

12.

All bank accounts in the name of Lovat Limited, including account
number ******1006 at the Bank of Cyprus; and

All bank accounts in the name of Navasa Ventures Limited,
including account number ******9806 at the Bank of Cyprus.

All funds in the following bank accounts located in Hungary:

1.

All bank accounts in the name of Global Energy Mining and
Minerals Limited, including:

a. Account numbers ************0002, ************0005 and
************0005 at CIB Bank Zrt;

b. Account numbers ****2102, ****4096, ****4089, ****2092
and ************1062 at Kereskedelmi es Hitelbank Rt;

c. Account number ************3285 at MKB Bank;

d_ Account numbers ****$*******0603’ ************0604,
************0886 and ************0666 at Bank Of China
(Hungaria) Rt; and

e. Account number **4632 at K&H Bank Zrt.

All bank accounts in the name of Mabofi Holdings Limited,
including account number **************0005 at Central
European International Bank.

All funds in the following bank accounts located in the Netherlands:

1.

All bank accounts in the name of Ostchem Germany GmbH,
including account number *****2001 at Amsterdam Trade Bank
NV;

All bank accounts in the name of Ostchem International GmbH,
including account number *****2001 at Amsterdam Trade Bank
NV; and

All bank accounts in the name of Tolexis International Limited,
including account number at * * * * * 1001 at Amsterdam Trade Bank
NV.

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E. All funds in the following bank accounts located in Switzer'land:

1.

All bank accounts in the name of Bothli Trade AG, including:

a. Account number ********2001 at BNP Paribas Suisse
b. Account number ********7821 at Credit Suisse; and
c. Account numbers ********2611, ********8093,

********1117 and ********8085 at Zurcher Kantonalbank.

All bank accounts in the name of Ostchem lnvestments Limited,
including account number ******0333 at Gazprornbank
(Switzerland) Ltd.

All bank accounts in the name of Ostchem Ventures Limited,
including account number ******0333 at Gazprombank
(Switzerland) Ltd.

All bank accounts in the name of Ostchem Holding Limited,
including account number ******0333 at Gazprombank
(Switzerland) Ltd.

 

SCHEDULE C
The following company organized/registered under the laws of Austria:
1. Ostchem Holding AG.

The following company organized/registered under the laws of the British
Virgin lslands:

1. Foyston Limited.

The following company organized/registered under the laws of Cyprus:
1. Deltalink Limited,

The following company organized/registered under the laws of Hungary:
1. Global Energy Mining and Minerals Limited.

The following companies organized/registered under the laws of the
Seychelles:

DF Finance Limited;
Elvan Services Limited;
Lovat Limited; and
Navasa Ventures Limited.

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The following company organized/registered under the law of Switzerland:
1. Bothli Trade AG.

The following company organized/registered under the laws of an
unknown jurisdiction:

1. Greensboro Corporation.

 

 

SCHEDULE D

All funds in the following bank accounts located in Cyprus:

1.

All bank accounts in the name of Bothli Trade AG, including
account numbers ******0806 and ******4048 at the Bank of
Cyprus;

All bank accounts in the name of Deltalink Limited, including
account number ******9906 at the Bank of Cyprus;

All bank accounts in the name of DF Finance Limited, including
account number ******5806 at the Bank of Cyprus;

All bank accounts in the name of Elvan Services Limited, including
account number ******8806 at the Bank of Cyprus;

All bank accounts in the name of Foyston Limited, including
account number ******9806 at the Bank of Cyprus;

All bank accounts in the name of Global Energy Mining and
Minerals Limited, including account number ******4206 at the
Bank of Cyprus;

All bank accounts in the name of Greensboro Corporation, including
account number ******7506 at the Bank of Cyprus;

All bank accounts in the name of Lovat Limited, including account
number ******1006 at the Bank of Cyprus; and

All bank accounts in the name of Navasa Ventures Limited,
including account number ******9806 at the Bank of Cyprus.

All funds in the following bank accounts located in Hungary:

1.

All bank accounts in the name of Global Energy Mining and
Minerals Limited, including:

a. Accountnumbers************0002,************0005 and
************0005 at CIB Bank Zrt;

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Account numbers ****2102; ****4096, ****4089, ****2092
and ************1062 at Kereskedelmi es Hitelbank Rt;

c. Account number ************3285 at MKB Bank; and
d_ Account numbers ************0603, ************0604,
************0886 and ************0666 at Bank of China
(Hungaria) Rt.
C. All funds in the following bank accounts located in Switzerland:

1. All bank accounts in the name of Bothli Trade AG, including:

a.

b.

Account number ********2001 at BNP Paribas Suisse;
Account number ********7821 at Credit Suisse; and

Account numbers ********2611, ********8093,
********1117 and ********8085 at Zurcher Kantonalbank.

 

 

